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 1     DONALD SPECTER – 083925                           MICHAEL W. BIEN – 096891
       STEVEN FAMA – 099641                              ERNEST GALVAN – 196065
 2     MARGOT MENDELSON – 268583                         LISA ELLS – 243657
       PRISON LAW OFFICE                                 JENNY S. YELIN – 273601
 3     1917 Fifth Street                                 THOMAS NOLAN – 169692
       Berkeley, California 94710-1916                   MICHAEL S. NUNEZ – 280535
 4     Telephone: (510) 280-2621                         MARC J. SHINN-KRANTZ – 312968
                                                         ALEXANDER GOURSE – 321631
 5     CLAUDIA CENTER – 158255                           ADRIENNE PON HARROLD – 326640
       DISABILITY RIGHTS EDUCATION                       BENJAMIN W. HOLSTON – 341439
 6     AND DEFENSE FUND, INC.                            MAYA E. CAMPBELL – 345180
       Ed Roberts Campus                                 LUMA KHABBAZ – 351492
 7     3075 Adeline Street, Suite 210                    JARED MILLER – 353641
       Berkeley, California 94703-2578                   ROSEN BIEN
 8     Telephone: (510) 644-2555                         GALVAN & GRUNFELD LLP
                                                         101 Mission Street, Sixth Floor
 9                                                       San Francisco, California 94105-1738
                                                         Telephone: (415) 433-6830
10 Attorneys for Plaintiffs
11
12                                     UNITED STATES DISTRICT COURT
13                                     EASTERN DISTRICT OF CALIFORNIA
14
15 RALPH COLEMAN, et al.,                                 Case No. 2:90−CV−00520−KJM−SCR
16                       Plaintiffs,                      PLAINTIFFS’ MOTION FOR LEAVE
                                                          TO MOVE TO CLARIFY OR FOR
17                 v.                                     RELIEF FROM ORDER OF APRIL 16,
                                                          2025
18 GAVIN NEWSOM, et al.,
                                                          Judge: Hon. Kimberly J. Mueller
19                       Defendants.
20
21                 Pursuant to this Court’s Order of December 24, 2020, ECF No. 7003 at 2, Plaintiffs
22 hereby request leave to file a motion for clarification of the Order of April 16, 2025
23 regarding payment of the receiver-nominee’s invoice for the period ending April 1, 2025.
24 The proposed motion is attached hereto as Exhibit A.
25                 The parties have communicated regarding this issue, and have note resolved the
26 issue. Defense counsel has authorized the undersigned to represent that they do not oppose
27 leave to file. See Galvan Decl. ¶ 4. Defense counsel wrote in an email: “Defendants will
28 not object to Plaintiffs’ request to file the motion and take no position with respect to the
     [4687491.1]

                                           PLAINTIFFS’ MOTION FOR LEAVE
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 1 motion.”
 2                 Plaintiffs’ counsel has also informed the Special Master regarding the need for this
 3 motion. Id. ¶ 5.
 4                                              CERTIFICATION
 5                 Plaintiffs’ counsel certifies that he reviewed the following orders in preparing this
 6 filing: ECF Nos. 7003, 8239, 8604.
 7
 8 DATED: April 22, 2025                            Respectfully submitted,
 9                                                  ROSEN BIEN GALVAN & GRUNFELD LLP
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11                                                  By: /s/ Ernest Galvan
12                                                      Ernest Galvan

13                                                  Attorneys for Plaintiffs
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                                           PLAINTIFFS’ MOTION FOR LEAVE
